          Case
           Case1:20-cr-00206-VM
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                                           U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York

                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew's Plaza
                                                      New York, New York 10007


                                                       March 13, 2020
BYECF
                                                                                     t: SOC SDNY
The Honorable Victor Marrero
                                                                                     DOCUMENT
United States District Judge                                                                                                '
Southern District of New York                                                        ELECTRONICAI .LY FILED,·,
500 Pearl Street                                                                     DOC #:       iY,                         I
New York, New York 10007                                                             DATE FILED:- + - ' - - - l ' - - - - -

       Re:     United States v. Alfonso Lanier, 20 Cr. 206 (VM)

Dear Judge Marrero:

        The Government writes regarding the above-captioned criminal case, which has just been
assigned to Your Honor. After consultation with defense counsel and Your Honor's chambers
regarding availability, the parties respectfully request that the Court schedule an initial conference
in this matter on Friday, March 20, 2020 at 1:00 p.m. The parties will appear before the duty
Magistrate Judge prior to that conference for an arraignment.


                                                Respectfully submitted,

                                                GEOFFREY S. BERMAN
                                                United States Attorney




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                                                Assistant United States Attorney
                                                (21 2) 637-1024

cc:    Megan Benett, Esq. (by ECF)



                    Request GRANTED, The z.·~~~~=~~
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                    SOORDERED.



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